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                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                                BECKLEY DIVISION


    MICHAEL D. ROSE, ET AL.,

                            Plaintiffs,

    vs.                                                                        Civil Action No. 5:22-cv-00405

    JEFF S. SANDY, individually and
    in his official capacity as the Cabinet Secretary of the
    West Virginia Department of Homeland Security, ET AL.,

                            Defendants.


              ORDER AND PROPOSED FINDINGS AND RECOMMENDATION

          On October 2, 2023, the parties came before the undersigned for an evidentiary hearing

regarding the Plaintiffs’ Expedited Motion to Compel Defendants Jeff Sandy and Brad Douglas

to Respond Fully and Adequately to Discovery and to Deem Requests for Admission Admitted,

and Sanctions (ECF No. 600) 1 filed on September 1, 2023, and the Defendants’ Updated Status

Report and Objection to Plaintiffs’ Expedited Motion to Compel (ECF No. 616) filed on



1
 Following an earlier hearing held on August 14, 2023, before the undersigned, the Plaintiffs were directed to file a
supplemental omnibus discovery motion to supplant or supersede their prior motions to compel to streamline
outstanding discovery issues. (See ECF No. 546) Accordingly, for purposes herein, the Plaintiffs’ Motion to Compel
Defendant Brad Douglas to Respond Fully and Adequately to Discovery (ECF No. 436), Motion to Compel
Defendant Jeff Sandy to Respond Fully and Adequately to Discovery (ECF No. 450), and Supplemental Motion to
Compel Defendant Jeff Sandy to Respond Fully and Adequately to Discovery (ECF No. 458) are hereby deemed
subsumed by the pending Expedited Motion, supra, and the Clerk is directed to TERMINATE same.

During a subsequent hearing on these matters on September 11, 2023, counsel for the Plaintiffs withdrew that portion
of the omnibus motion (ECF No. 600) to Deem Requests for Admission Admitted, however, because the Plaintiffs
have still not received all responsive discovery that the Defendants had assured them was forthcoming, the Plaintiffs
could not withdraw the motion to compel full and adequate discovery. Further, because of the Defendants’ recent
disclosure that certain ESI had not been preserved, despite the Plaintiffs’ efforts to obtain same and to facilitate its
production by way of the ESI protocols, the Plaintiffs could not withdraw the motion for sanctions. Therefore, the
undersigned considers this omnibus motion as the precursor to the Plaintiffs’ follow up Motion for a Finding of
Spoliation and for Sanctions, as discussed herein.
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September 8, 2023. After the hearing, the Court directed counsel for the Plaintiffs and the West

Virginia Division of Corrections and Rehabilitation (“WVDCR”) Defendants to submit briefings

for the undersigned’s consideration of the appropriate sanctions 2. In compliance with this

directive, on October 13, 2023, the Plaintiffs filed their Motion for a Finding of Spoliation and

for Sanctions Against Defendants Jeff Sandy, Brad Douglas, Betsy Jividen, and William

Marshall, III (ECF No. 713) and their supporting Memorandum (ECF No. 714); on October 20,

2023, the WVDCR Defendants (Sandy 3, Douglas, Jividen, and Marshall) filed their Response in

Opposition (ECF No. 740), to which the Plaintiffs filed their Reply (ECF No. 754 ) filed October

24, 2023. Consequently, the matters herein are ripe for decision.

          For the reasons stated infra, the Court hereby GRANTS the Plaintiffs’ Expedited Motion

to Compel Defendants Jeff Sandy and Brad Douglas to Respond Fully and Adequately to

Discovery and to Deem Requests for Admission Admitted, and Sanctions (ECF No. 600) and

GRANTS their Motion for a Finding of Spoliation and for Sanctions Against Defendants Jeff

Sandy, Brad Douglas, Betsy Jividen, and William Marshall, III (ECF No. 713).

                                                  Background

          This Court is keenly aware of the issues and procedural events leading up to the Plaintiffs’

request for a panoply of sanctions, thus, they will not be reproduced herein. Nevertheless, there is

no dispute that the Plaintiffs filed numerous motions to compel, as well as motions for sanctions

and spoliation of evidence, and that only after having done so, and after the Court hosted numerous

video conferences and hearings on those matters, and after the Court ordered the WVDCR



2
    See ECF No. 709 at 180-181.

3
 It is noted that Defendant Sandy is the Cabinet Secretary of the West Virginia Department of Homeland Security,
however, for purposes herein, and for the sake of simplicity, he will be referred to collectively at times as a WVDCR
Defendant.
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Defendants to supplement their discovery responses, did these Defendants attempt to produce

responsive discovery. (See, e.g., ECF Nos. 117, 373, 436, 450, 458) In spite of this Court’s

repeated intervention in fairly straightforward discovery matters, these Defendants’ efforts did not

just fall far short from the Court’s and even Counsel’s expectations – they have ushered in a

dereliction of duty that the undersigned has determined to be a defining characteristic of these

Defendants’ discovery practices. There are many notable instances in the record that demonstrate

the WVDCR Defendants’ utter disregard for the Federal Rules of Civil Procedure, let alone their

own policies governing the preservation of discovery – to say the Court found the testimony

elicited from these Defendants shocking is a gross understatement.

                                 A Summary of the Testimony

       As an initial matter, the Court finds that a summary of the testimonial evidence presented

during the hearing held on October 2, 2023, before the undersigned is necessary to highlight the

egregious discovery abuses that have plagued this action before the original complaint was filed

and ever since. (See generally, ECF No. 709)

       The Plaintiffs called seven (7) witnesses, three (3) of whom are named Defendants in this

case, and former or current employees of the WVDCR: Douglas, Jividen, and Francis.

       Douglas Testimony:

       Douglas testified that he had been Chief of Staff since July 1, 2018, however, he was the

Interim Commissioner from August 6, 2022, when Jividen terminated her employment, through

January 2023. As Chief of Staff, Douglas was one of two individuals (including Molly Mullins,

the Director of Technology) as a point of contact for the West Virginia Office of Technology

(“WVOT”) during the Summer of 2022.

       During that time, Douglas confirmed that he was familiar with a document called a

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Memorandum of Understanding (“MOU”) (ECF No. 704) that was signed by Defendant Sandy on

November 2, 2021. Douglas confirmed this document applied to WVDCR prisons and jails during

the Summer of 2022, and provided that he or Ms. Mullins would meet on a regular basis to

collaborate on ways technology services offered can help the agency meet its business and strategic

needs. During the Summer of 2022, when the Plaintiffs preservation letters were sent, neither

Douglas nor Ms. Mullins met with WVOT to discuss the technological needs relative to preserve

evidence. Douglas admitted there was no reason for not meeting with WVOT regarding evidence

preservation at that time. Douglas admitted that the MOU also provided that either he or Ms.

Mullins were responsible to work with WVOT to preserve ESI evidence, including email accounts,

cell phones, or text messages, but neither Douglas nor Ms. Mullins met with WVOT to discuss

preserving this evidence. Douglas admitted there was no excuse for this, he just “[d]idn’t think

about it.” 4

           Douglas testified that he was made aware of the Plaintiffs’ preservation letters in June and

July 2022 because he was copied on an e-mail. (See ECF No. 704-2) Douglas confirmed that the

e-mail chain included Defendant Francis, Marvin Plumley, Jackie Binion, Della Hall, Susan

Harding, and Harold Withrow. Douglas stated that Jackie Binion was a regional manager over the

SRJ, and Marvin Plumley was his superior. Douglas identified Della Hall as his secretary, and

Susan Harding as the Commissioner’s Executive Secretary. Major Harold Withrow was the

security officer at the SRJ. 5 Douglas confirmed that everyone with the SRJ chain of command

knew via email on July 7, 2022, about the Plaintiffs’ evidence preservation letter. This included

Marvin Plumley, Defendant Jividen, the Assistant Commissioner Paul Simmons, and Sarah


4
    See ECF No. 709, p.13, line 14.
5
    Major Withrow replaced the retiring Larry Warden. Id., p. 61, lines 2-5.

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Daugherty, the paralegal who works for Phil Sword, counsel for the West Virginia Department of

Homeland Security (“DHS”).

            Douglas testified that he advised Phil Sword that there was “no way we can preserve all

video evidence” 6 because of his experience as an administrator at a regional jail and having

knowledge of the technological capacity of how the system works. However, Douglas admitted

that neither he nor Ms. Mullins contacted WVOT about how to preserve this evidence because

“[w]e didn’t think of it.” 7 Douglas admitted that no steps were taken to preserve the evidence at

the SRJ, including e-mails and documents. Douglas did not share any information with others,

including Jividen and Francis, as to what steps needed to be taken to preserve evidence, though he

could have done so.

            Douglas admitted that the email accounts belonging to Jividen, Francis, Larry Warden, and

David Young were not preserved. Douglas could not confirm that five years’ worth of SRJ inmate

grievances as required by the record retention policy have been preserved. Douglas admitted that

no steps were taken to preserve any email accounts of former employees of the WVDCR since

July 7, 2022. Douglas admitted that nobody, including himself, followed the process concerning

litigation holds for discovery or information in the Summer of 2022 because they “[d]idn’t think

of it.” 8 Douglas admitted that it is not up to WVOT to contact the agency about preserving email

accounts, but is incumbent upon him or the agency to contact WVOT about preserving such

evidence. Douglas testified that he was not aware that the Plaintiffs’ law firm agreed to absorb the

costs relative to preserving the video evidence at SRJ and he was not aware how much it would


6
    Id., p.16, lines 6-7.
7
    Id., p.17, line 5.
8
    Id., p.22, line 1.

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have cost to do so; Douglas agreed that the cost to preserve email accounts would not have been

significant or to preserve paper documents at the SRJ.

       Douglas testified that he was familiar with Policy Directive 105.08 that concerns evidence

retention, that was signed by Jividen on October 15, 2021 (ECF No. 704-3). Douglas confirmed

that the Policy Directive provided that records shall be preserved when the Legal Department for

DHS advises that records relevant to litigation or potential litigation must be preserved, and the

Legal Department determines when those records are no longer needed. Douglas confirmed that

he was unaware of anyone from the Legal Department, or any other agency determining what

evidence might need to be preserved during the Summer of 2022. Douglas confirmed that the

Policy Directive concerning destroying records, including paper inmate grievances, required a

Document Destruction Request Form to be signed (Id. at 8-10). Douglas testified that he could not

find any document destruction requests from the SRJ predating 2022.

       Douglas could not confirm that the Policy Directive concerning evidence retention also

applies to cell phones issued to employees but did confirm that Defendants Jividen and Francis

and Larry Warden had state-issued cell phones. Douglas testified that these individuals retired after

the Plaintiffs sent their preservation of evidence letters, and that upon termination of employment,

an employee’s cell phone is to be turned in to a supervisor. Douglas testified that when Jividen

left, she left her cell phone with him, but he could not recall what was done with it and her cell

phone cannot be located. Douglas also testified that he was uncertain if Francis’ and Warden’s cell

phones were preserved but is aware the PINs to them are unknown in order to access them. Douglas

confirmed that he allowed Jividen’s email account to be deprovisioned on August 10, 2022 (ECF

No. 704-6), without consulting the Legal Department or WVOT, and aware that there was an

evidence hold pursuant to the Plaintiffs’ preservation letters. Douglas admitted that the email

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account belonging to another former WVDCR employee was deprovisioned after the Plaintiffs

filed their lawsuit but could not recall who authorized that.

         On cross examination, Douglas testified that he did not intend to deprive the Plaintiffs the

opportunity to review Jividen’s email account when he authorized it to be deprovisioned. He

confirmed that emails from deprovisioned email accounts are still available if they were sent to

current WVDCR employees; he confirmed these emails have been produced to the Plaintiffs.

Douglas explained the purpose for deprovisioning email accounts is to prevent former employees

access to the State computer network. Deprovisioning an email account can be accomplished

through authorization, or by inactivity. Douglas did not consider that Jividen’s emails to other

former employees would be lost when he authorized her account deprovisioned, as he had a lot

going on at the time. Douglas testified that the Policy Directive did not include emails or cell

phones. 9 Douglas confirmed that just within the past week, the WVDCR instituted a new policy

governing ESI (emails, cell phones, and other electronic evidence) preservation because of this

lawsuit, they realized there were holes in their procedures and inadequate tracking and preservation

of ESI evidence. (ECF No. 704-1) 10

         Douglas testified that he was not aware of any communications from the Plaintiffs’ counsel

to Phil Sword about the Plaintiffs bearing the costs of preserving the recordings of digital video

system at SRJ. Douglas was also unaware of any efforts by the Plaintiffs’ counsel to provide any



9
  Noting the contradiction in his testimony on direct examination, the undersigned was compelled to question Mr.
Douglas further on whether the Policy Directive also encompassed the retention of emails and cell phones. Despite
the plain text defining “records” in the Policy Directive, which includes “computer entries, emails, computer files,
electronic images or any other information stored on any computer maintained by the Division of Corrections and
Rehabilitation”, Mr. Douglas maintained that the WVDCR had a “poor practice and a poor procedure” as to how to
retain electronic records and intends to fix that problem. (See, ECF No. 709, pp. 49-51)

 This exhibit concerns a copy of the recent Policy Directive 109.04, signed on September 25, 2023, by Defendant
10

Marshall.

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computer packages to the SRJ to preserve those video recordings.

           Douglas confirmed that Francis received one of the Plaintiffs’ preservation letters on July

7, 2022, that he had forwarded an email regarding same up the proper chain of command, which

included Jividen, and that he forwarded the email down the chain of command, which included

Warden. Francis’ last day at the SRJ was July 11, 2022. Douglas also confirmed that any emails

just between Francis and Jividen no longer exist, just as no emails from any former correctional

officers or other former employees just between or among each other no longer exist. Douglas

admitted that he did not spend time preserving evidence in the Summer of 2022, and that emails

were not properly preserved. While Douglas admitted, when he first became Interim

Commissioner, he had a lot going on, he knew he had the assistance of Phil Sword in the Legal

Department, the Attorney General’s Office, and WVOT had he asked. Douglas also confirmed that

by late August 2022 AIG had hired lawyers to try to help preserve evidence to prepare for

litigation. Douglas testified he believed the destruction of evidence in this case was due to a

“critical failure of communication.” 11

           Phil Sword Testimony:

           Sword testified that he is employed as an Assistant Attorney General and General Counsel

for the DHS and had been employed as Assistant Attorney General since late June 2021. Sword

confirmed that the DHS website indicates that there is one embedded Assistant Attorney General

aware of issues concerning the DHS, including those impacting litigation. He confirmed receipt of

the first of the Plaintiffs’ preservation letters in late June 2022. He confirmed that no later than

July 7, 2022, he became aware of evidence preservation letters. Sword testified as an Assistant



11
     ECF No. 709, p.66, lines 8-12.

                                                    8
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Attorney General his role is “[v]ery little” in the preservation of evidence for impending litigation.

He recalled that the Plaintiffs’ counsel intended to preserve video recording evidence at SRJ by

purchasing hard drives. Sword testified that because the Plaintiffs’ counsel did not purchase these

hard drives, it is their fault for not preserving this video evidence. In response to whether he

communicated with the Plaintiffs’ counsel about purchasing hard drives, he testified that “[w]e

were represented by counsel, so that was the limit of my involvement.” 12 Other than providing the

WVDCR and DHS with the Plaintiffs’ preservation letters, he did not have any meetings with any

of the WVDCR Defendants or with WVOT regarding the preservation of evidence. Because they

were represented by counsel, Sword did not coordinate those issues.

            Sword testified that he was aware of a lot of media reports in March 2022 leading up to the

receipt of the Plaintiffs’ evidence preservation letters that there were numerous lawsuits that were

going to be filed against SRJ, including at least three concerning inmate deaths at the facility.

            Sword testified that if the Plaintiffs wanted to certain email accounts preserved, then they

would have to give the names on those accounts. Sword explained that because West Virginia law

provides that counsel have an opportunity to request materials prior to filing suit, such an incident

reports, from those reports, counsel may request that certain email accounts be held from

deprovisioning, as WVOT cannot hold these accounts by subject matter, only by name. Sword

denied that he would be in a superior position to know which named accounts are to be preserved,

because access to those reports would not yield that information. 13 Sword confirmed that if told



12
     Id., p.76, lines 4-6.

13
  At this point in the testimony, once again, the Court was compelled to ask this witness how Plaintiffs’ counsel is
expected to know whose email accounts need to be preserved from incident reports when he himself could not glean
that information. The only explanation Mr. Sword provided in response to the Court’s inquiry was “that is very time
consuming. It would require us to review all of those documents. . .. And that’s why we have placed that in the hands
of the plaintiffs’ attorneys who want to bring a claim.” Id., p.84, lines 13-17.
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which named accounts are to be preserved, that is easily done.

            On cross examination, Sword testified that the hard drives required to preserve video

recording evidence would take up significant amounts of space and that there was no capacity for

it but had no further involvement in obtaining hard drives since his telephone conversation with

the Plaintiffs’ counsel. He also confirmed that he had nothing to do with the deprovisioning of

email accounts, was unaware the email accounts belonging to Young, Jividen and Francis were

deprovisioned in 2022, and did not learn that deprovisioned email accounts cannot be saved until

the Summer of 2023. Sword did not personally destroy any evidence and had no intent to deprive

the Plaintiffs’ or their counsel of evidence.

            Betsy Jividen Testimony:

            Jividen had been the Commissioner of the WVDCR from January 2018 to August 6, 2022.

She had been asked to resign by Defendant Sandy and the Governor’s Chief of Staff, Brian

Abraham following the death of Transportation Secretary Wriston’s nephew, who had been an

inmate at the SRJ. Jividen has been a licensed attorney for 43 years and admitted she was well

aware of the importance of the preservation of evidence for civil litigation. She testified that she

is also aware that a court can impose sanctions, even default judgment, for a party’s failure to

preserve evidence.

            Jividen recalled the discovery issues from the Baxley v. Jividen case before this Court,

including six motions to compel that were filed against her and a $1,000 daily fine, and testified

that they asked for help from the Secretary’s Office to assist, and once an Assistant Attorney

General was involved, they were able to “streamline the process” 14; she did not recall there were

any issues concerning the destruction of evidence.


14
     Id., p.105, line 17.
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       She confirmed receiving the Plaintiffs’ evidence preservation letters beginning in June

2022 as well as being copied on an email dated July 7, 2022, concerning same. She confirmed that

she was aware that among those in the email chain, that Francis was going to retire, and that

Warden was going to retire, and that by mid-July 2022, she was going to depart the WVDCR as

well. She denied upon her departure, of deleting any of her emails, and assumed they would be

preserved after she was gone. She recognized that the destruction of any evidence would have gone

against their policy. She had no reason to think any of her emails or other evidence would not have

been preserved. She did not call for any meetings to ensure evidence preservation but did forward

the notices to preserve evidence or made sure the Legal Department was aware. She did not follow

up with the Legal Department, but assumed they would work on that.

       Jividen agreed that the litigation involving SRJ would be extensive, but testified she had

no reason to believe the evidence would not be preserved. She admitted that she would have been

copied on emails involving inmate deaths at SRJ. She admitted that she was aware that a Special

Operations inspection of the SRJ in April 2022 and that earlier in March, Defendant Sandy visited

the SRJ regarding issues concerning toilet paper, mattresses, and water.

       She did not save any of her emails to a hard drive upon leaving the WVDCR. She denied

knowing of any requests from the SRJ to destroy evidence while she was employed with the

WVDCR; she denied knowing any evidence was being destroyed at the SRJ; she denied doing

anything intentionally to deprive the Plaintiffs’ or their counsel of any evidence.

       She confirmed that she had a State-issued cell phone and left it on her desk when she left

but denied having any discussions regarding preserving her cell phone or the cell phones belonging

to Warden and Francis. Jividen testified that she assumed that they would still be accessible.

       Michael Francis Testimony:

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         Francis testified that from May 2013 through July 31, 2022 15, he served as the

Superintendent at SRJ. When he retired, he left his State- issued cell phone with Jackie Binion and

Marvin Plumley. He denied having any discussions with anyone at WVDCR or DHS about

preserving evidence, but assumed nothing would be destroyed. He recalled receiving several

preservation letters beginning in November 2021, another in March 2022 concerning an inmate

death case, and then the Plaintiffs’ preservation letters. Francis recalls the policy concerning

preservation of evidence that came out in November 2021. Francis recalled when this policy came

out that he discussed it with Warden, knowing that both would retire soon, and figured that because

there was a lot of bureaucracy or red tape to go through to get rid of anything, they determined to

not get rid of anything.

         Francis testified that he sent the July 7, 2022, email up the chain of command because that

was protocol. He said when he receives preservation letters, he scans them, and emails them up

the chain of command. He testified that he had daily meetings with his staff about things like this,

and he recalled that because he would be leaving soon, he spoke with Mr. Withrow, who had taken

over Larry Warden’s office (who “took care of all the logs, videos, and made sure nothing

happened to anything”), and advised him not to get rid of anything. 16

         Francis testified that he was shocked that his email account was deprovisioned. He denied

that anyone from the Legal Department, WVDCR, DHS, WVOT or anyone else advised him that

his email account would be deprovisioned. He cannot recall the passcode on his former cell phone,

but did not provide anyone, including Messrs. Binion and Plumley, with his passcode because he

“didn’t think that . . . I just thought that they could do whatever they want to with it. It didn’t


15
   He last worked in this capacity on July 11, 2022, and following a couple of weeks off for vacation, did return briefly
having been reassigned to another post. Id., p. 140-141
16
   Id., p. 130, lines 13-18.

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matter to me. I was leaving.” 17 Francis testified that he did not copy all his emails to a hard drive

or save them because that would have been a policy violation.

            He confirmed that he was aware of the policy that requires the preservation of internal

investigations and grievances for five years and testified that there should be both paper and

electronic copies of these documents for the years 2019, 2020, 2021, 2022, and 2023. He testified

that when he left, there was a filing cabinet in his office that contained copies of internal

investigations provided to him; he also testified that paper copies of inmate grievances would also

remain at the facility, in his office, a copy in that inmate’s file, and a copy with a case manager,

such as John Harvey, Director of Inmate Services. Grievances made on the kiosks would remain

in the kiosks. As far as Francis knew, all that information and documents should still be there, and

there is no reason why they should not be.

            Danielle Cox Testimony:

            During the Summer of 2022, Cox worked for WVOT as the Chief Information Security

Officer. Her job involves protecting the systems and data for integrity, availability, and

confidentiality. Her office assists State agencies such as the WVDCR and DHS to preserve email

accounts for outgoing employees, and that doing so is easily done. One method is for a request to

come through the Legal Department via a standard form, or through a Customer Relationship

Manager or service desk. She testified that the State is not billed for this service. During the

Summer of 2022, she did not receive any copies of evidence preservation letters regarding SRJ or

any contact from the Legal Department, Sword, Douglas, or anyone else associated with WVDCR

or DHS asking that evidence be preserved at SRJ.

            Cox explained that her office is a service provider for the email accounts and maintain


17
     Id., p. 132, lines 24-25, p. 133, lines 1-2.
                                                    13
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Google Drives; Google Drives contains data that State agencies put on it, though she does not

know what type of data or the classification of their data. Cox testified that in August 2023 was

the first time her office received a request in this case to produce Google drives, which concerned

a list of thirty users. She confirmed that the list contained thirty names, and 156 search terms.18

Cox noted that while the form requesting a deprovisioning of an outgoing employee’s email

account does not mention preserving or not deleting any emails from that account, a request to

preserve all emails can be made through a separate email, which she can do easily. She testified

that such requests have been made previously, and that her office gets about thirty such requests

per year. She confirmed she could preserve emails from an email account to be deprovisioned can

be accomplished by a click of a button. However, if the preservation option or button is not clicked,

then after 30 days, those emails will be deleted and cannot be retrieved – that information is

destroyed by being overwritten.

        Cox confirmed that her office is familiar with litigation holds and the policy endorsed by

the MOU. She denied having seen any such requests for litigation holds from WVDCR or DHS

relative to the SRJ.

        Marvin Plumley Testimony:

        Plumley testified that he has worked for WVDCR as the Assistant Commissioner since

July 1, 2018. He admitted he was involved in the decision and discussion to deprovision the email

accounts belonging to Francis and Warden but did not understand that the emails from those

accounts would eventually no longer be available, though he acknowledged it was considered a

good idea to keep those emails for discovery and FOIA requests. (ECF No. 704-9) He denied



18
  Counsel for the WVDCR Defendants made it clear to the Court that this concerned the ESI protocol that was agreed
to by prior counsel with the Plaintiffs’ counsel. Id., p. 152, lines 4-7.

                                                       14
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having heard any requests from WVDCR or DHS or WVOT that certain email accounts for the

last two years needed to be preserved.

       Plumley testified that he had been employed in one capacity or another with WVDCR for

over 22 years and has experience being involved in litigation, which included being tasked to

preserve emails. He testified that in his experience, when a request for email preservation is made,

he advises the facility involved, the regional directors, and chiefs of the possible or pending

litigation and have someone access those emails. He denied ever having discussed such matters

with WVOT but did not think emails would not have been preserved.

                                  The Argument for Sanctions

       The Plaintiffs argue that under Rule 37(e)(2), they do not need to present any evidence or

proof with regard to prejudice, as prejudice is assumed if the Defendants’ acts are found to be

intentional – the Defendants’ testified about their independent protocols for preserving evidence,

and have admitted to not only knowing they had a duty to preserve and their blatant failures to do

so, is highly indicative of the Defendants’ intent in failing to preserve evidence. The Plaintiffs

argue that the WVDCR Defendants’ egregious conduct warrants default judgment.

         Alternatively, the Plaintiffs ask the Court to prohibit the Defendants from introducing

 evidence that disputes the Plaintiffs and putative class members’ testimony regarding their

 conditions of confinement, the length of time the conditions existed, and evidence that disputes

 any of the Plaintiffs’ testimony regarding the deliberate indifference standard. The Defendants

 were aware certain ESI had not been preserved and they should have known that sometime in

 September 2022. The Plaintiffs further note that the testimony elicited during the evidentiary

 hearing also supports an adverse inference be given that the destroyed and/or lost evidence

 would have been favorable to the Plaintiffs.

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         The Plaintiffs also ask the Court to order the Defendants to obtain and pay the costs of

 an outside expert to access the cell phones they happened to recover, as the Defendants have

 yet to determine who the former user(s) of the cell phones they have located are in sixteen

 months.

         Finally, the Plaintiffs ask for their attorneys’ fees and costs in having to prosecute their

 numerous motions before this Court.

                                The Argument Against Sanctions

       The WVDCR Defendants highlight the fact that none of them fully appreciated the

deprovisioning of email accounts of departing employees without taking affirmative steps. The

Plaintiffs’ preservation letters arrived during a chaotic time - Defendant Jividen was replaced by

Defendant Douglas as the Interim Commissioner, and then he was subsequently replaced as the

Commissioner – and unfortunately, the preservation of certain ESI just was not in the forefront of

anyone’s mind during the time those accounts were deleted. Still, these Defendants note that much

of the deprovisioned accounts have been preserved as they remain in the mailbox of some other

WVDCR employee, therefore, the losses to the Plaintiffs have been substantially mitigated. Only

the email accounts of Defendants Jividen and Francis are lost, but those emails would be few, as

both individuals testified they would rarely email each other without copying other WVDCR

personnel.

       Regarding the DVR recordings, these Defendants note that they contain a certain fixed

amount of storage, and after that is filled, the older video is automatically written over about every

fourteen days. Contrary to the Plaintiffs’ assertion that his request to preserve same and that they

would purchase hard drives to store this information was ignored and the evidence was purged,

these Defendants relied upon the Plaintiffs’ counsel’s representation that they would purchase the

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hard drives, but they did not. To that extent, the Plaintiffs have waived or at least estopped, from

claiming any right to compel the WVDCR to buy the hard drives to store this information. The

Plaintiffs did not follow through on their representations that they would make efforts to preserve

this, and their failures should not be borne by the WVDCR Defendants.

        Regarding lost grievances and incident reports, these Defendants have produced thousands

of pages of paper grievances and provided the Plaintiffs’ access to the ESI contained at the SRJ

kiosks (which contain electronic grievances). These Defendants produced dozens of investigations

which also include videos. Defendant Marshall had nothing to do with the deprovisioning of email

accounts because he was not appointed Commissioner until long after the deprovisioning

happened.

        The Plaintiffs cannot show that the emails connected to Defendants Sandy, Jividen, or

Marshall meet the threshold requirements to justify sanctions under Rule 37(e): none of these

individuals engaged in conduct that was unreasonable. Defendant Jividen took reasonable steps to

ensure that her emails were not deleted and had forwarded the Plaintiffs’ preservation letters to the

legal department. Defendant Sandy also caused his own ESI to be preserved. Additionally, these

Defendants argue that the Plaintiffs cannot show prejudice to them by the loss of the ESI – the

Defendants assert that any lost records would have been so cumulative to other extant evidence as

to not constitute much, if any, prejudice. For instance, during a recent hearing on class certification,

the Plaintiffs produced multiple emails from deprovisioned accounts they argue support their

claims; multiple depositions have already taken place, including of these Defendants, and several

more are scheduled, including Defendant Marshall’s. The Defendants have produced a massive

amount of ESI and other discovery, and the Plaintiffs will offer at trial their own testimony.

        The Defendants further point out that the Plaintiffs’ counsel provided a press interview

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wherein he claimed he had strong evidence to support the Plaintiffs’ claims, negating their

argument that the lost ESI is crucial to their case.

       Significantly, there has been no demonstrable intent to warrant the sanctions requested by

the Plaintiffs – gross negligence does not constitute intent. Further, the Defendants’ failure to

comply with their own internal policy of preserving records is not akin to violating a legal duty to

preserve and does not show the Defendants intended to fail to preserve evidence. Also, arguably,

per Defendant Douglas’s testimony, that internal policy does not pertain to emails or cell phones.

The Defendants direct the Court’s attention to the advisory committee’s notes to Rule 37 that

instruct courts to be sensitive to the fact that independent obligations to preserve evidence that

does not necessarily mean such obligations existed with respect to the litigation or prove that one’s

efforts to preserve were unreasonable with respect to a particular case. Further, courts are cautioned

to consider inadvertent failure to preserve ESI, and a party’s unsophistication regarding litigation

in evaluating preservation efforts.

       The Defendants emphasize that the Plaintiffs rely upon pre-2015 Rule 37(e) cases to

support their arguments for sanctions, that the Plaintiffs ignore that courts must only issue

sanctions no greater than necessary to cure the prejudice, and that the Plaintiffs ignore the copious

other evidence to support their claims that render the lost emails cumulative evidence to what they

already have, and will continue to obtain as discovery continues in this action. Even if a court were

to find intent to deprive a party of lost evidence, it is not required to impose sanctions: this Court

had found that an inadvertent loss of emails did not substantiate intent, and also, the loss was

mitigated through remedial efforts taken to reconstitute a vast majority of them. See Knight v.

Boehringer Ingelheim Pharms., 323 F.Supp.3d 837 (S.D.W. Va. 2018)(Chambers, J.).

       Regarding the Plaintiffs’ request that these Defendants pay an outside expert to analyze the

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presumptive cell phones of Defendants Jividen, Francis, and Warden, the Defendants assert they

already paid an outside expert about $28,000 to attempt to do this, but without the PINs, which the

Defendants do not have, nothing can be done. The Defendants are willing to discuss with the

Plaintiffs allowing for another expert to attempt to recover the phones’ data.

       The Defendants ask this Court to deny the Plaintiffs’ request for fees and costs because

they have not shown these Defendants acted with malice, but are instead trying to press the notion

of spoliation over a lack of evidence, and have not shown any prejudice to their claims. The

Defendants ask the Court to deny the Plaintiffs’ motion.

                       Plaintiffs’ Reply in Further Support for Sanctions

       The Plaintiffs note that the Defendants here present themselves as being above the law, and

that at no time during the transition from Jividen to Douglas at the helm was the WVDCR in danger

of being guided by a novice – the Plaintiffs assert that Defendant Douglas was fully aware of his

duties, having a couple of decades of experience under his belt, and that he knew exactly what he

was obligated to do, in terms of preserving evidence, he simply chose not to. Further, the full extent

of lost emails is unknown, because every single email account of every former employee at the

SRJ has been purged. This is critical, because those individuals would have documented what

these Plaintiffs have been complaining about for several years. The Plaintiffs patently do not

believe that none of the cell phones are available or can be accessed, particularly considering the

supposed tight budget the Defendants had been operating under.

       These WVDCR Defendants have been involved with the operation of its facilities for far

too long, and are not novices when it comes to preserving evidence due to litigation holds, yet they

incredibly come to this Court acting as if such things were beyond their capacity to think about –

this strains credulity when this Court has experience in a similar matter that came before it just last

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year. 19 Defendants Sandy, Douglas and Jividen have all testified under oath that there have been

long-standing, chronic problems of overcrowding, understaffing and overdue maintenance at the

SRJ, and the loss of contemporaneous evidence that supported the Plaintiffs’ claims shows just

how severely the Plaintiffs have been prejudiced as they have been deprived of the opportunity to

develop testimonial and tangible evidence.

         In response to the Defendants’ assertion that they have provided emails purportedly to

duplicate or replace the lost emails to the Plaintiffs, the Plaintiffs point out that the Defendants

neglect to mention that those emails are also subject to a voluminous privilege log which shows

their ongoing intent to deprive the Plaintiffs of necessary information. As for their sophistication

regarding the preservation of ESI, backing up computer data is common knowledge, and the

Defendants knew how to go about ensuring this evidence was preserved, and notwithstanding their

letting others know that it needed to be preserved, they did nothing further – their experience from

the Baxley case should have been instructive. Even if Defendant Marshall was not involved in the

Summer of 2022, he still bears responsibility for any and all continuing video that is lost. The

Defendants have done nothing but shift the blame to others, including to the Plaintiffs’ counsel for

their own failures to preserve evidence they knew they were obligated to do. The harshest sanctions

available should be imposed due to the Defendants’ utter failure to uphold their known obligations

in this matter.

                                                  Relevant Law

         Rule 26(e)(1)(A) of the Federal Rules of Civil Procedure provides the following:

         A party who has made a disclosure under Rule 26(a) – or who has responded to an
         interrogatory, request for production, or request for admission – must supplement

19
  The Plaintiffs refer to the undersigned’s handling of numerous discovery disputes, and ultimately finding egregious
discovery abuses like the ones at bar in John Baxley, Jr., et al. v. Betsy Jividen, et al., No. 3:18-cv-01526, ECF No.
595, (S.D.W. Va. Apr. 14, 2022).
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       or correct its disclosure or response . . . in a timely manner if the party learns that
       in some material respect the disclosure or response is incomplete or incorrect, and
       if the additional or corrective information has not otherwise been made known to
       the other parties during the discovery process or in writing.

       Rule 37 of the Federal Rules of Civil Procedure governs the Court’s authority for issuing

the appropriate sanctions:

       If the motion to compel is granted – or if the disclosure or requested discovery is
       provided after the motion was filed – the court must, after giving the parties an
       opportunity to be heard, require the party whose conduct necessitated the motion,
       the party or attorney advising that conduct, or both to pay the movant’s reasonable
       expenses incurred in making the motion, including attorneys’ fees. But the court
       must not order this payment if:

       (i)     The movant filed the motion before attempting in good faith to obtain the
               disclosure or discovery without court action;
       (ii)    The opposing party’s nondisclosure, response, or objection was
               substantially justified; or
       (iii)   Other circumstances make an award of expenses unjust.

Fed. R. Civ. P. 37(a)(5)(A).

       Rule 37(b)(2)(A) vests courts with a variety of sanctions when a party fails to obey an order

to provide or permit discovery, including but not limited to striking pleadings in whole or in part.

The Fourth Circuit has instructed district courts to apply a four-part test when determining

appropriate sanctions under Rule 37(b): (1) whether the non-complying party acted in bad faith,

(2) the amount of prejudice that noncompliance caused the adversary, (3) the need for deterrence

of the particular sort of non-compliance, and (4) whether less drastic sanctions would have been

effective. Young Again Prods., Inc. v. Acord, 459 Fed. Appx. 294, 301 (4th Cir. 2011); Belk v.

Charlotte–Mecklenburg Bd. of Educ., 269 F.3d 305, 348 (4th Cir. 2001).

       Additionally, Rule 37(e) governs the failure to preserve electronic information:

       If electronically stored information that should have been preserved in the
       anticipation or conduct of litigation is lost because a party failed to take reasonable
       steps to preserve it, and it cannot be restored or replaced through additional
       discovery, the court:
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   (1) upon finding prejudice to another party from loss of the information, may order
       measures no greater than necessary to cure the prejudice; or
   (2) only upon finding that the party acted with the intent to deprive another party of the
       information’s use in the litigation may:
          (A) presume that the lost information was unfavorable to the party;
          (B) instruct the jury that it may or must presume the information was
              unfavorable to the party; or
          (C) dismiss the action or enter a default judgment.

See Modern Remodeling, Inc. v. Tripod Holdings, LLC, 2021 WL 3852323, at *10 (D. Md. Aug.

27, 2021); In re: Ethicon, Inc., No. 2:12-CV-00497, 2016 WL 5869448, at *3 (S.D.W. Va. Oct. 6,

2016).

         Spoliation of evidence refers to “the destruction or significant alteration of evidence, or the

failure to preserve property for another’s use as evidence in pending or reasonably foreseeable

litigation.” Silvestri v. General Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001)(citing West v.

Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999)). The kind of prejudice sufficient

to trigger Rule 37(e)(1) occurs “when, as a result of the spoliation, the party claiming spoliation

cannot present ‘evidence essential to its underlying claim.’” Al-Sabah v. Agbodjogbe, 2019 WL

4447235, at *5 (D. Md. Sept. 17, 2019)(quoting Victor Stanley, Inc. v. Creative Pipe, Inc., 269

F.R.D. 497, 522–23 (D. Md. 2010)). To justify the more severe sanctions of Rule 37(e)(2), the

moving party must demonstrate that the failure to preserve was motivated by an intent to deprive

the moving party of the use of the information in the litigation. Brittney Gobble Photography, LLC

v. Sinclair Broad. Grp., Inc., 2020 WL 1809191, at *4 (D. Md. Apr. 9, 2020). Negligent or even

grossly negligent behavior will not suffice. Fed. R. Civ. P. 37(e) Advisory Committee Notes. The

burden of proof is on the party seeking sanctions, and the standard of proof in the Fourth Circuit

appears to be “clear and convincing” evidence where relatively harsh sanctions are sought. Steves

and Sons, Inc. v. JELD-WEN, Inc., 327 F.R.D. 96, 104 (E.D. Va. 2018)

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       Sanctions are justified for spoliation of evidence when a party establishes “that the alleged

spoliator had a duty to preserve material evidence.” Turner v. United States, 736 F.3d 274, 282

(4th Cir. 2013). Also, a party must also establish “that the alleged destroyer must have known that

the evidence was relevant to some issue in the anticipated case.” Id. (citing Vodusek v. Bayliner

Marine Corp., 71 F.3d 148, 156 (4th Cir. 1994)). Finally, the alleged destroyer must have

“thereafter willfully engaged in conduct resulting in the evidence’s loss or destruction” and,

“[a]lthough the conduct must be intentional, the party seeking sanctions need not prove bad faith.”

Id.; see also, Quetel Corp. v. Hisham Abbas, 819 Fed. Appx. 154, 156 (4th Cir. 2020) (unpublished)

(citing Turner and affirming the District Court’s imposing judgment as a sanction when the

defendant purposefully destroyed evidence in bad faith with the intent of depriving the plaintiff of

the use of the evidence.)

       “In the Fourth Circuit, a District Court may impose sanctions such as dismissal or adverse

inference against a party who fails to preserve or produce evidence.” Martin v. Aldi, Inc. (Ohio),

No. 3:19-cv-00027, 2021 WL 411513, at *1 (S.D. W. Va. Feb. 5, 2021)(citing Hodge v. Wal-Mart

Stores, Inc., 360 F.3d 446, 450 (4th Cir. 2004)(Chambers, J.).

       When considering a motion for attorneys’ fees, the Supreme Court has instructed that “[t]he

most useful starting point for determining the amount of a reasonable fee is the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate.” Hensley v.

Eckerhart, 461 U.S. 424, 433 (1983). The Court’s assessment of the requested award should

include consideration of hours which were spent excessively, redundantly, or unnecessarily. Id. at

434. The starting calculation is referred to as the lodestar amount. Grissom v. The Mills Corp., 549

F.3d 313 (4th Cir. 2008). There are twelve factors that the Court must consider on the calculation

of reasonable attorneys’ fees:

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       (1) the time and labor expended; (2) the novelty and difficulty of the questions
       raised; (3) the skill required to properly perform the legal services rendered; (4) the
       attorney’s opportunity costs in pressing the instant litigation; (5) the customary fee
       for like work; (6) the attorney’s expectations at the outset of the litigation; (7) the
       time limitations imposed by the client or circumstances; (8) the amount in
       controversy and the results obtained; (9) the experience, reputation and ability of
       the attorney; (10) the undesirability of the case within the legal community in which
       the suit arose; (11) the nature and length of the professional relationship between
       attorney and client; and (12) attorneys’ fees awards in similar cases.

Grissom, 549 F.3d at 321. Upon completion of this lodestar calculation, a “court then should

subtract fees for hours spent on unsuccessful claims unrelated to successful ones.” Grissom, 549

F.3d at 321 (quoting Johnson v. City of Aiken, 278 F.3d 333, 337 (4th Cir. 2002)). “Once the court

has subtracted the fees incurred for unsuccessful, unrelated claims, it then awards some percentage

of the remaining amount, depending on the degree of success enjoyed by the plaintiff.” Johnson,

278 F.3d at 337.

                                             Discussion

       There is no dispute that the WVDCR Defendants had a duty to preserve the lost ESI and

other evidence. “Before litigation begins, courts agree that the receipt of a demand letter, a request

for evidence preservation, a threat of litigation, or a decision to pursue a claim will all trigger the

duty to preserve evidence.” In re Ethicon, Inc. Pelvic Repair Sys. Prod. Liab. Litig., 299 F.R.D.

502, 512 (S.D.W. Va. 2014)(citing Turner, 736 F.3d at 282; Silvestri, 271 F.3d at 592;

and Sampson v. City of Cambridge, Md., 251 F.R.D. 172, 181 (D. Md. 2008)). In this case, clearly

that duty arose upon receipt of the Plaintiffs’ preservation letters in June 2022 through August

2022, when the Plaintiffs explicitly requested these Defendants to preserve certain ESI (emails,

videos, etc.) just prior to the filing of this lawsuit. The Court finds that in addition to former

employee email accounts, cell phone information (text messages, voice mail, etc.), and

specifically, those belonging to Defendants Jividen and Francis, the WVDCR Defendants were

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obligated to preserve the DCR recordings. There is no dispute that despite having been formerly

advised by the Plaintiffs’ counsel in the Summer of 2022 to preserve all evidence pertaining to the

conditions of confinement at the SRJ (including email accounts, cell phones, text messages,

Criminal Investigation Division (“CID”) reports, and other electronic or paper data), no action was

taken to preserve all this evidence. This is in spite of the fact that the WVDCR recently

implemented its own policy governing the preservation of evidence in late 2021 (See ECF No.

713-1). While the Plaintiffs assert that they have received emails from the Defendants in

September 2023, excepting those that had been purged, they contend that even now, these

Defendants have failed to produce text message or cell phones for Defendants Jividen, Francis,

and Warden. 20

         As to whether this lost ESI was relevant to the Plaintiffs’ claims, the Court finds itself in a

difficult position trying to evaluate the relevance of lost or destroyed evidence. The Plaintiffs have

alleged that the evidence produced thus far has been relevant and probative to their allegations,

however, the Defendants assert that not all of the lost ESI would have been relevant, and what they

have been able to preserve, the lost ESI does not significantly impact the Plaintiffs’ claims.

Additionally, the Defendants have shown that the lost ESI has been substantially replaced by the

production of other evidence, as the lost emails from Defendants Jividen and Francis were copied

to other WVDCR employees, thus the Plaintiffs’ alleged prejudice has been substantially

mitigated. Nevertheless, what has been lost is no longer retrievable – this is not in dispute.



20
  As noted supra, during the evidentiary hearing, nobody was able to reliably identify or locate these former WVDCR
employees’ cell phones. Given the extraordinary circumstances presented here, it would not surprise the Court if these
electronic devices have been lost or destroyed as well. Since the hearing, the Defendants represent that there are cell
phones presumably belonging to these individuals, but their outside expert cannot glean the information from them
without the PINs – the Court is again at a loss as to how this problem can be remedied, but at this stage of the
proceedings, the Court is of the opinion that the information contained in those cell phones is for purposes herein, lost
or destroyed.
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However, it is not lost on the Court that despite all the hearings held on these issues, not once

before late August 2023 did these Defendants advise the Plaintiffs (including this Court) that the

email accounts belonging to any former employee of the WVDCR were purged and unable to be

retrieved. The Court cannot abide this failure to communicate with not only opposing counsel, but

also with the Court during any of the previous video conferences and hearings. This critical

omission suggests that the lost evidence was relevant to the Plaintiffs’ claims, and further, the de

minimis actions taken by these Defendants indicate that they had reason to believe that the evidence

was relevant to the Plaintiffs’ claims. To that extent, the Court finds that the lost ESI was relevant.

        Moreover, the presumptive cell phones left by outgoing employees appear to be a lost

cause, given that no one can provide the PINs to retrieve the information left on the State-issued

cell phones. As far as the DCR recordings go, while this Court can appreciate the Defendants’

position that the Plaintiffs represented that they would pay for the hard drives to preserve those

recordings, the Court takes issue with the fact that the Defendants simply did nothing to inquire

further of the Plaintiffs if they wanted that information preserved – or at a minimum, remind the

Plaintiffs that they intended to purchase hard drives for the extra storage. The Defendants, as noted

supra, were put on notice to preserve this evidence, but they made no affirmative steps to do so –

this is undisputed.21

        Regarding any “reasonable steps” to preserve the email accounts, cell phone information,



21
   First, the duty to preserve the evidence was the absolute legal obligation of the Defendants. The fact that the
Plaintiffs offered to pay for hard drives to preserve the evidence DID NOT diminish or alleviate the mandatory
requirement that the Defendants had to preserve the video evidence. It is not lost on the Court that even though the
Plaintiffs offered to pay for the expense of preserving the video evidence, the Defendants did nothing further to
preserve the evidence. Furthermore, it was suggested that the cost of preserving the evidence was “a” factor that
nothing further was done by the Defendants. The Court finds any suggestion that preservation of the video evidence
due to lack of financial ability of the Defendants to pay for the same disingenuous at best. (See
https://governor.wv.gov/News/press-releases/2023/Pages/Gov.-Justice-says-West-Virginia-shatters-all-time-
financial-records-with-close-of-fiscal-year.aspx). (See also, ECF. No. 709, pp 96-100).

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DCR recordings, and other ESI, while the Court can appreciate outgoing employees having

informed the legal department, the Defendants’ collective laissez-faire approach to preservation is

unjustified, is noncompliant with their own policy concerning evidence preservation, is violative

of the Federal Rules of Civil Procedure, and simply cannot be condoned. Again, the Defendants’

attitudes are akin to sitting on their hands or doing the bare minimum, and expecting the Plaintiffs

to put forth all the effort to preserve ESI that was unquestionably under the custody and control of

the Defendants. This is maddening because the Defendants were charged with that obligation

under law, and yet they try to convince this Court that the Plaintiffs actually bore that duty.

           And yet, the undersigned notes that respect to the email accounts, it would have been a

very simple step, had anyone bothered to advise the Office of the West Virginia Department of

Technology. Danielle Cox, the Chief Information Security Officer, testified that preserving the

email accounts of former employees can be easily done, and there is a standard form the WVDCR

or the WVDHS can use to accomplish this. Ms. Cox’s testimony proved to be particularly

troublesome to the undersigned considering the Defendants’ conduct in this case because the first

her office received notice to preserve an email account was not until August 2023. 22 The

Defendants never advised the Court prior to this time that this was the case or would have been an

issue. On that note, the Court is also perplexed that preserving government email accounts

(including other government communications or video recordings from the regional jails, let alone

cell phones) is not the default, but that active steps must be taken to ensure its preservation. The

fact that publicly funded agencies can lose (and in this case, has lost) critical information as to

how these agencies are administered, funded, or even governed is beyond the pale. Especially




22
     See ECF No. 709, p. 151, lines 4-11.

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when that information concerns the well-being of individuals who have been placed in WVDCR

custody and control.

         While acknowledging how serious the destruction of the ESI evidence is, these Defendants

merely state that they had no intention of destroying this evidence and explain that they just “didn’t

think about it.” 23 The fact this was a repeated or common excuse among those individuals who

were and are in charge of the SRJ seriously challenges the Court’s suspension of disbelief. 24 Even

Defendant Douglas conceded that the failure to preserve, while being aware of the duty to preserve

and doing nothing to do so, was, at best, “grossly negligent.” The Court is not convinced that there

was some species of ineptitude that infected every individual in the chain of command regarding

evidence preservation, and is reminded of Douglas’ bizarre testimony about the revamped

WVDCR Policy Directive concerning ESI preservation:

         The Court:        So, e-mails in this policy really mean e-mails, but e-mails for the

                           other policies didn’t mean e-mails; is that what you’re telling me?

         The Witness: As a practical matter, sir, yes.

(See ECF No. 709, p. 53, lines 7-10)

         The Defendants’ discovery misconduct does not stop at the failure to preserve certain ESI,



23
  See ECF No. 709, p. 13, line 14. Also notable is Della Hall’s testimony, that during the Summer of 2022, she was
the executive assistant for the Chief of Staff (Douglas) prior to his transition as the Interim Commissioner, but at no
time in June through August 2022 did she take part in any requests or communications with the West Virginia Office
of Technology seeking assistance with evidence preservation at the SRJ. (See ECF No. 709, p.147, lines 10-20)

24
   Perhaps the most infuriating testimony came from Phillip Sword, Assistant Attorney General, who stated his
involvement with the preservation letters was limited to forwarding them to the respective agencies, but incredibly,
he insisted that the failure to preserve electronic evidence was the Plaintiffs’ counsel’s fault, because they had not
provided the hard drives to store this information, despite stating they would pay for them. (See ECF No. 709, p.75
lines 10-25, p.76 lines 1-3). His testimony was even more galling when in response to questions from the bench, that
notwithstanding the clear litigation holds that he received and had firsthand knowledge of, and the requirement under
law that this evidence was to be preserved, Mr. Sword insisted that the WVDCR/DHS’s reliance on the Plaintiffs’
counsel’s pledge to purchase hard drives essentially allowed them to wash their hands of any responsibility for
preserving this evidence, though the State could have purchased the hard drives itself. (Id., pp. 96-100)

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the Court heard testimony that paper documents that pre-date 2022 have not been preserved,

including inmate’s grievances. 25 This information should have been maintained in the office of

the superintendent at the SRJ, yet not a single witness could explain to the Court why anything

predating 2022 is no longer there. Significantly, that information goes to the crux of the Plaintiffs’

cause of action. To that extent, the Plaintiffs have sufficiently demonstrated that they have been

prejudiced from the loss of this evidence.

        The Court notes that several months ago, the Plaintiffs filed their Emergency Motion for

Preliminary Injunction or Temporary Restraining Order (ECF No. 117). The impetus behind their

Motion concerned the deliberate destruction of evidence, including:

        moving files subpoenaed in a Federal investigation for the purpose of concealment
        which will likely be relevant in the instant litigation; hiding files subpoenaed in a
        federal investigation which will likely be relevant in the instant litigation; burning
        files subpoenaed in a federal investigation which will likely be relevant in the
        instant litigation; and shredding files subpoenaed in a federal investigation.

(See ECF No. 118 at 2) The fact that numerous files predating 2022 have disappeared without any

explanation provides further support for the Plaintiffs’ earlier allegations. Not a single WVDCR

witness could explain how this evidence was lost or where it went. And each of those witnesses

had served or presently serve in the highest positions of authority over the SRJ. That these

Defendants would ask this Court to believe that entire file cabinets of evidence disappeared

without a trace is an ask too far. To do so, the Court would have to disregard all logic and reason

to take these Defendants at their word. The ONLY logical explanation for the loss of this evidence,

is that it was intentionally destroyed – and this logical explanation has been provided to this Court

through an inmate’s affidavit who witnessed such events – Charles Mann. (See ECF No. 117-2)



25
  The testimony from the October 2, 2023, evidentiary hearing suggests that grievances and internal investigations
dating back to 2019 should still be at the SRJ. (See ECF No. 709, p.141, lines 19-25, p.142, lines 1-7).

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         What happened with the paper evidence sheds a disturbing light on the lost ESI evidence

in this case: the Defendants would also have the Court believe that they simply “didn’t think about”

preserving any of the ESI evidence, despite being fully aware of their duties to do so, is not credible

at all. As noted earlier, the head authority figures for the WVDCR and SRJ were fully aware of

the litigation holds, and did nothing to ensure the preservation of evidence, despite knowing their

legal obligation to do so. This demonstrates at best, willful blindness 26, but when coupled with the

so-called unexplainable loss of inmate grievances and other files, this demonstrates intentional and

purposeful destruction of evidence. To make matters worse, if that is even possible at this point,

the Defendants’ defense, in part, is basically, we had no funds to preserve evidence, so our duty to

preserve has been extinguished. The Defendants’ misconduct begs the question: why have such

protocols to preserve ESI, or even the Rules of Civil Procedure at all? If no rules or protocols

matter, then the Defendants (or any other party that may come before this Court) could never be

sanctioned for failing to comply with any duty to preserve evidence – they could just turn a blind

eye, or worse, purposely destroy evidence, and argue their actions were simply not intentional, or

they just “didn’t think about it.”

         The foregoing is stunning to say the least, and the unmitigated gall displayed by the

Defendants toward the Plaintiffs (and to an extent, this Court) can be summed up in their own

words, “They are, therefore, entitled to nothing.” (See ECF No. 740 at 19) The Court will not turn

a blind eye to the Defendants’ blatant arrogance and flippant response to their legal obligations,

nor will it condone such behavior by not issuing sanctions.



26
   The Court does not use this term loosely or unadvisedly. The Court is aware of the definition of “willful blindness”
is the “deliberate failure to make a reasonable inquiry of wrongdoing . . . despite suspicion or an awareness of the
high      probability     of      its    existence.”     (Emphasis       added.)      (See      https://www.merriam-
webster.com/legal/willful%20blindness). A common synonym of “deliberate” is “intentional” and vice versa. (See
https://www.merriam-webster.com/thesaurus/intentional or https://www.merriam-webster.com/thesaurus/deliberate).
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         Accordingly, the undersigned FINDS by clear and convincing evidence, the paper inmate

grievances, CID reports, and any other documents that have not been produced to the Plaintiffs

were intentionally destroyed. Therefore, the undersigned FINDS that the Plaintiffs have more than

sufficiently demonstrated that because of the Defendants’ pervasive and ongoing failures to abide

by the rules of discovery, and the Defendants’ intentional spoliation of evidence, the imposition of

sanctions is warranted, including granting default judgment. To be clear, the undersigned FINDS

that pursuant to Silvestri v. General Motors Corp., 271 F.3d 583 (4th Cir. 2001) 27, the Defendants’

conduct was so egregious, it has caused prejudice to the Plaintiffs to the extent that it substantially

denied them the ability to prosecute their claims.

         Given the procedural history in this case, the Court “must” issue the appropriate sanction

under Rule 37, which includes attorneys’ fees. While bad faith is not a factor here, the undersigned

is hard-pressed not to find that the Defendants acted in bad faith by failing to preserve the evidence

as requested by the Plaintiffs – and especially after not having the decency to advise the Plaintiffs

this evidence was not preserved, let alone this Court, which has spent too many hours having to

officiate the Plaintiffs’ multiple motions to compel. Counsel for the Defendants has represented

that the failure to preserve some of the evidence was inadvertent, but that other evidence available

to the Plaintiffs cures this mistake. However, there has been no valid explanation as to how this

supposed inadvertence was made other than a proverbial “oops.” Nor does this account for the

total lack of explanation by the Defendants as to the missing hard copies of grievance and CID

documents at SRJ. Notwithstanding the lack of adequate explanation, this does not absolve the

Defendants from its responsibilities to the Plaintiffs or to this Court. In short, the Defendants’


27
   The Fourth Circuit observed that for a court “to justify the harsh sanction of dismissal, the district court must
consider both the spoliator's conduct and the prejudice caused and be able to conclude either (1) that the spoliator's
conduct was so egregious as to amount to a forfeiture of his claim, or (2) that the effect of the spoliator's conduct was
so prejudicial that it substantially denied the defendant the ability to defend the claim.” Id. at 593.
                                                           31
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discovery conduct is not fully mitigated by some alleged oversight when the Federal Rules of Civil

Procedure governing discovery and the language employed by this Court through its orders are

quite clear as to what is expected of litigants appearing before it.

       With regard to the Plaintiffs’ surprise of the being recently informed of the spoiled

evidence, clearly, this tainted the good faith efforts the Court expects from litigants, and further,

the testimonies provided by the Defendants’ witnesses shows that the lost evidence was clearly

relevant, and likely beneficial to the Plaintiffs’ case, and the Defendants’ intentional failure to

preserve this evidence has denied the Plaintiffs the opportunity to timely present the evidence

necessary to certify the class. Moreover, the Plaintiffs have been denied the opportunity to review

contemporaneous evidence to support their allegations forever in this case. And perhaps others.

       As for the ability of the Defendants to cure the so-called inadvertent mistake, this was

relatively easy, as they were able to do so within their own protocols, provided they had taken the

simple steps to do so. While the Defendants have extended an offer to the Plaintiffs to have another

outside expert review the presumptive cell phones issued to its former employees, obviously, that

extends the time for this action to remain active on this Court’s docket, which necessarily impacts

the Court’s ability to manage the case. More importantly, however, the fact not a single WVDCR

Defendant can provide a usable PIN to access the information contained on those cell phones

renders any such offer useless, and ultimately, results in yet another instance of spoliation of

evidence.

       Finally, the Defendants have repeatedly represented to this Court that their failure to

preserve evidence was a regrettable oversight. On one hand, the undersigned is disturbed that the

Defendants did not bother to disclose this to the Plaintiffs or even to this Court several months

before realizing they failed to preserve it, but on the other hand, the undersigned is outraged: not

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only have the Plaintiffs’ counsel spent significant time endeavoring to prosecute their claims, this

Court spent numerous valuable hours holding hearings, video conferences, researching and

drafting orders to facilitate discovery in this matter, and all for nought. While the Defendants

recently changed their legal representation, only then did this Court become aware of their failure

to preserve evidence expressly requested by the Plaintiffs that it be preserved for this litigation.

From the testimonial evidence elicited during the hearing, supra, the undersigned is convinced,

that at best, these Defendants were simply playing games, but at worst, they have been dishonest

with the Court, and with opposing counsel. The sheer amount of wasted time expended by this

Court to attempt to mediate numerous contentious discovery disputes cannot be understated.

Clearly, the Defendants’ actions here have severely prejudiced the Plaintiffs.

                             Ruling and Recommendations for Disposition

         Regarding the Plaintiffs’ request for default judgment, the Court further FINDS that this

sanction is warranted: while the Plaintiffs themselves acknowledge they have overwhelming

evidence of the unconstitutional conditions of overcrowding, understaffing, and deferred

maintenance 28, the undersigned refuses to ignore the Defendants’ willful blindness, or to put more

succinctly, their intentional failure to preserve evidence they were obligated to preserve. 29 More

importantly, though the Court is mindful of the caveats endorsed in the 2015 Advisory Committee

Notes to Rule 37(e) as pointed out by the Defendants, the Court will not ignore or condone their




28
  The Court is not going to equate the Plaintiffs’ counsel’s posturing to news media with what is to be presented
during trial, and the Defendants’ invitation that the Court even make such a comparison that is so obviously
incomparable is incomprehensible.
29
   With regard to the grievances and CID reports that are missing from SRJ, because the Defendants have no logical
explanation as to their whereabouts and the Plaintiffs have provided sworn affidavit by an eyewitness who states that
they were shredded (See ECF No. 117-2), the Court refuses to ignore the intentional and purposeful destruction of this
evidence as further evidence that recommending that default judgment be granted to the Plaintiffs.

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collective failures to preserve evidence. Having seen firsthand WVDCR defendants’ indifference

and willful misconduct in discovery in the Baxley matter, the undersigned finds the Defendants’

ongoing discovery abuses outrageous. As noted by Judge Chambers:

         The Court recognizes that in certain instances the effect of discovery improprieties
         in one case may reverberate throughout subsequent actions that address similar
         claims against the same group of defendants.

Knight v. Boehringer Ingelheim Pharm., Inc., 323 F.Supp.3d at 859. Although the Defendants

argue this lost evidence does not prejudice the Plaintiffs since it appears from the Plaintiffs’ own

representations that the prejudice is “less acute” as there are other sources from which some of the

spoliated evidence can be obtained 30, this does not excuse the Defendants from their intentional

discovery abuses herein, and further, having been around this bend before, the undersigned FINDS

the Defendants’ destruction of evidence was indeed intentional. Without the imposition of a severe

sanction allowed under Rule 37, anything less this Court were to impose would have no teeth when

it comes to these Defendants. 31 Accordingly, the undersigned hereby respectfully PROPOSES

that the District Judge confirm this foregoing finding and RECOMMENDS that the District Judge

GRANT the Plaintiffs’ request for default judgment. 32

         Alternatively, for the foregoing reasons, the Court FINDS the Plaintiffs’ request that these

Defendants be prohibited from introducing evidence that dispute the Plaintiffs and putative class

members’ testimony regarding the conditions of confinement, the length of time the conditions


30
   See Bartlett v. South Carolina Department of Corrections, 2020 WL 5627141, at *3 (D.S.C. Sept. 21, 2020); see
also, Knight, 323 F.Supp.3d at 845.
31
   Judge Chambers’ clairvoyance as noted supra in the Baxley matter has proven to be true here. Clearly, these
Defendants did not learn the lesson from Baxley and apparently thought that that repeating and escalating their
discovery abuses in this action would produce similar results as in Baxley. However, this Court must establish the line
that should never be crossed again by imposing the harshest sanction available.
32
  Because the Plaintiffs have requested certain sanctions that concern matters within the purview of the District Judge,
pursuant to 28 U.S.C. § 636, the undersigned makes these as recommendations.

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existed, and evidence that disputes any of the Plaintiffs’ testimony regarding the deliberate

indifference standard is wholly warranted. Because there is no question that these Defendants

failed to supplement responsive discovery to the Plaintiffs, and knew at the time that their

responses were incomplete and inaccurate (i.e., failed to disclose that email evidence was no longer

available, failed to produce video evidence, failed to produce all grievances, failed to produce CID

reports), other remedies provided under Rule 37(c), supra, is to exclude such evidence at trial.

Accordingly, the undersigned hereby respectfully PROPOSES that the District Judge confirm this

foregoing finding and RECOMMENDS that the District Judge GRANT the Plaintiffs’ request

these Defendants be prohibited from introducing evidence that dispute the Plaintiffs and putative

class members’ testimony regarding the conditions of confinement, the length of time the

conditions existed, and evidence that disputes any of the Plaintiffs’ testimony regarding the

deliberate indifference standard.

       As another alternative, again for the reasons aforesaid, the Court FINDS that the Plaintiffs’

request that an adverse inference be given that the missing and destroyed evidence is consistent

with the Plaintiffs’ claims regarding the conditions at SRJ, that an adverse inference be given that

the missing and destroyed evidence demonstrates the Defendants were aware that the conditions

at SRJ presented a substantial risk of harm to the Plaintiffs, and that an adverse inference be given

that the missing or destroyed evidence would have been favorable to the Plaintiffs is warranted.

The undersigned declines to craft what those instructions could be, given that the Plaintiffs have

experienced and knowledgeable Counsel representing them. Accordingly, the undersigned hereby

respectfully PROPOSES that the District Judge confirm this foregoing finding and

RECOMMENDS that the District Judge GRANT the Plaintiffs’ requests for this particular

sanction(s).

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       Finally, both the Plaintiffs’ Expedited Motion to Compel Defendants Jeff Sandy and Brad

Douglas to Respond Fully and Adequately to Discovery and to Deem Requests for Admission

Admitted, and Sanctions (ECF No. 600) and Motion for a Finding of Spoliation and for

Sanctions Against Defendants Jeff Sandy, Brad Douglas, Betsy Jividen, and William Marshall,

III (ECF No. 713) are GRANTED: with regard to the Plaintiffs’ request for attorneys’ fees, the

Court FINDS that this sanction is not only appropriate, but also mandated by Rule 37 of the Federal

Rules of Civil Procedure given the circumstances surrounding the Plaintiffs’ Motions. Therefore,

pursuant to Rule 37, the Plaintiffs are invited to file the appropriate motion for their reasonable

attorneys’ fees and costs incurred in prosecuting the Expedited Motion to Compel Defendants

Jeff Sandy and Brad Douglas to Respond Fully and Adequately to Discovery and to Deem

Requests for Admission Admitted, and Sanctions (ECF No. 600), the Motion for a Finding of

Spoliation and for Sanctions Against Defendants Jeff Sandy, Brad Douglas, Betsy Jividen, and

William Marshall, III (ECF No. 713) the supporting Memorandum (ECF No. 714), as well as the

Reply (ECF No. 754), and are further instructed to outline the reasons why these fees and costs are

appropriate and provide the Court with an accounting of the time Counsel spent in prosecuting the

Motions, etc. The Defendants shall be allowed to file an appropriate pleading setting forth any

objections to the accounting of time filed by the Plaintiffs. The Plaintiffs’ pleading shall be filed

within 14 days. A response by the Defendants shall be filed within 7 days after the Plaintiffs’

pleading. The Plaintiffs may file a reply within 3 days after the Defendants’ response.

       Additionally, the Court ORDERS the WVDCR shall also be responsible for purchasing at

its own cost hard drives to preserve the DCR (video) recordings at the SRJ beginning

IMMEDIATELY during the pendency of any appeal or objections filed to this Order/Proposed




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Findings and Recommendation. 33 Additionally, the WVDCR shall also be responsible for the

retention and payment for an expert of the Plaintiffs’ choosing to search the cell phones

presumably belonging to the Defendants, Jividen, Francis, Warden, and any others that may be

discovered as this case proceeds.

         In accordance with Rule 72(a) and (b) 34 of the Federal Rules of Civil Procedure, the ruling

set forth above on this Motion may be contested by filing within 14 days, objections to this Order

with District Judge Frank W. Volk. If objections are filed, the District Court will consider the

objections and modify or set aside any portion of the Order found clearly to be erroneous or

contrary to law.

         The Clerk is requested to distribute a copy of this Order and Proposed Finding and

Recommendation to all counsel of record.

                                                   A Postscript

         The undersigned has served as a judge in one capacity or another in State and Federal

Courts for nearly 15 years. The testimony that was elicited at the evidentiary hearing held on

October 2, 2023, stands out as some of the most remarkable testimony that the undersigned has

heard. Multiple witnesses took the stand and testified that the law and regulations governing the

preservation of evidence were not followed. As detailed above, this the undersigned believes the

failure to preserve the evidence that was destroyed in this case was intentionally done and not

simply an oversight by the witnesses. The Court does not make that statement flippantly but after


33
  Given the $1.8 billion budget surplus, it appears to the Court that paying for hard drives to preserve this evidence
would be a de minimis cost to the State. See, W.Va. Budget Surplus Spending Destinations Defined - West Virginia
Public Broadcasting: West Virginia Public Broadcasting (wvpublic.org). This is especially apparent given that the
Plaintiffs have represented that the costs for such hard drives are a mere $259 and can be purchased online. (See ECF
No. 709, p.76, line 18)
34
  The Plaintiffs’ Motion requests relief that concern both dispositive and non-dispositive matters, however, the
deadline for filing any objections is the same.
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much thought and reflection of the disturbing testimony that took place that day. The intentional

decisions to not preserve evidence, and to allow evidence to be destroyed was not done by low-

level employees of the WVDCR but was perpetrated by the highest persons in the chain of

command including the Commissioner of the WVDCR, Defendant Douglas. While the

undersigned understands the frustration that many in the chain of command at the WVDCR felt

that not having the additional funds that they believe necessary to alleviate many of the deficiencies

at the SRJ and other correctional facilities, that did not relieve the Defendants of their duty to

provide a constitutionally acceptable penal system to house persons incarcerated therein.

       In the case of Brown v. Plata, 563 U.S. 493, 131 S.Ct. 1910, 179 L.Ed.2d 969 (2011),

Supreme Court Justice Anthony Kennedy stated on behalf of the majority:

       As a consequence of their own actions, prisoners may be deprived of rights that are
       fundamental to liberty. Yet the law and the Constitution demand recognition of
       certain other rights. Prisoners retain the essence of human dignity inherent in all
       persons. Respect for that dignity animates the Eighth Amendment prohibition
       against cruel and unusual punishment. “ ‘The basic concept underlying the Eighth
       Amendment is nothing less than the dignity of man.’ ” Atkins v. Virginia, 536 U.S.
       304, 311 (2002) (quoting Trop v. Dulles, 356 U. S. 86, 100 (1958) (plurality
       opinion)).

       To incarcerate, society takes from prisoners the means to provide for their own
       needs. Prisoners are dependent on the State for food, clothing, and necessary
       medical care. A prison’s failure to provide sustenance for inmates “may actually
       produce physical ‘torture or a lingering death.’ ” Estelle v. Gamble, 429 U. S.
       97, 103 (1976) (quoting In re Kemmler, 136 U. S. 436, 447 (1890)); see generally
       A. Elsner, Gates of Injustice: The Crisis in America’s Prisons (2004). Just as a
       prisoner may starve if not fed, he or she may suffer or die if not provided adequate
       medical care. A prison that deprives prisoners of basic sustenance, including
       adequate medical care, is incompatible with the concept of human dignity and has
       no place in civilized society.

       If government fails to fulfill this obligation, the courts have a responsibility to
       remedy the resulting Eighth Amendment violation. See Hutto v. Finney, 437 U. S.
       678, 687, n. 9 (1978). Courts must be sensitive to the State’s interest in punishment,
       deterrence, and rehabilitation, as well as the need for deference to experienced and
       expert prison administrators faced with the difficult and dangerous task of housing
       large numbers of convicted criminals. See Bell v. Wolfish, 441 U. S. 520, 547–548
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        (1979). Courts nevertheless must not shrink from their obligation to “enforce the
        constitutional rights of all ‘persons,’ including prisoners.” Cruz v. Beto, 405 U. S.
        319, 321 (1972) (per curiam). Courts may not allow constitutional violations to
        continue simply because a remedy would involve intrusion into the realm of prison
        administration.

        Unlike Brown, where the Court granted an equitable remedy requiring the State of

California to reduce its prison population, this matter involves a class action civil matter seeking

damages to the class because of the conditions of incarceration. However, the observation made

by Justice Kennedy, that “[p]risoners retain the essence of human dignity inherent in all persons”,

is not any less in this case than it was in Brown.

        With that said, the undersigned readily acknowledges that the recommendation of default

judgment to the District Judge in this case, is extraordinary, but clearly warranted considering the

intentional conduct in this case and other cases that came before the undersigned. On that note,

and because the undersigned has found that paper records of grievances and investigations were

intentionally destroyed at SRJ, the Clerk is further requested to distribute a certified copy of this

Order and Proposed Findings and Recommendation to the United States Attorney to consider

whether an investigation of the WVDCR is warranted pursuant to 18 U.S.C. §§ 1512(a)(1)(B),

1519.

        ENTER: October 30, 2023.




                                                 39
